Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 1 of 14




                  Exhibit 3
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 2 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 3 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 4 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 5 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 6 of 14
           Case 3:19-cv-07071-SI      Document 1-3            Filed 10/28/19          Page 7 of 14




Reg. No. 5,566,030         Instagram, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                           1601 Willow Road
Registered Sep. 18, 2018   Menlo Park, CALIFORNIA 94025

                           CLASS 42: Providing a web site that gives users the ability to upload images; file sharing
Int. Cl.: 42               services, namely, providing a website featuring technology enabling users to upload
                           electronic files; providing a web site featuring technology that enables online users to create
Service Mark               personal profiles featuring social networking information

Principal Register         FIRST USE 11-5-2012; IN COMMERCE 11-5-2012

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 4170675, 4146057

                           SER. NO. 85-965,167, FILED 06-20-2013
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 8 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 9 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 10 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 11 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 12 of 14
Case 3:19-cv-07071-SI   Document 1-3   Filed 10/28/19   Page 13 of 14
          Case 3:19-cv-07071-SI     Document 1-3           Filed 10/28/19         Page 14 of 14




Reg. No. 5,019,151         Instagram, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                           1601 Willow Road
Registered Aug. 09, 2016   Menlo Park, CA 94025

                           CLASS 35: Marketing, advertising and promotion services; Dissemination of advertising for
Int. Cl.: 35               others via computer and communication networks; Promoting the goods and services of
                           others via computer and communication networks; Marketing and advertising consultation
Service Mark               services; Market research services; Provision of market research information; Providing
                           online advertising services for others; Providing online advertising on computer networks
Principal Register
                           FIRST USE 8-00-2013; IN COMMERCE 11-1-2013

                           The mark consists of the word "INSTAGRAM" written in script writing.

                           SER. NO. 86-725,488, FILED 08-14-2015

                           JEFFREY J LOOK, EXAMINING ATTORNEY
